Case 18-00108      Filed 04/26/18     Entered 04/26/18 06:23:28         Doc# 14    Page 1 of 3
   1   ALDRIDGE PITE, LLP
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       P.O. Box 17933
   3   San Diego, CA 92177-0933
       Telephone: (858) 750-7600
   4   Facsimile: (619) 590-1385
   5
       Attorneys for HomeStreet Bank
   6

   7                              UNITED STATES BANKRUPTCY COURT
   8                              DISTRICT OF ALASKA - ANCHORAGE
   9    In re                                               Case No. 18-00108
  10    LESLIE E BOWERS,                                    Chapter 7
  11                                                        HOMESTREET BANK'S REQUEST
                        Debtor.                             FOR SPECIAL NOTICE
  12

  13            TO ALL INTERESTED PARTIES:
  14            PLEASE TAKE NOTICE that the firm of ALDRIDGE PITE, LLP, attorneys
  15 for HomeStreet Bank hereby requests special notice of all events relevant to the above-referenced

  16 bankruptcy and copies of all pleadings or documents filed in relation to the above-referenced

  17 bankruptcy, including all pleadings or notices under Federal Rules of Bankruptcy Procedure, Rule

  18 2002, the commencement of any adversary proceedings, the filing of any requests for hearing,

  19 objections, and/or notices of motion, or any other auxiliary filings, as well as notice of all matters
  20 which must be noticed to creditors, creditors committees and parties-in-interest and other notices as

  21 required by the United States Bankruptcy Code and Rules and/or Local Rules of the above-

  22 referenced bankruptcy court.

  23            ALDRIDGE PITE, LLP, requests that for all notice purposes and for inclusion in the Master
  24 Mailing List in this case, the following address be used:

  25                                       ALDRIDGE PITE, LLP
                                         4375 Jutland Drive, Suite 200
  26                                           P.O. Box 17933
                                          San Diego, CA 92177-0933
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Case 18-00108      Filed 04/26/18     Entered 04/26/18 06:23:28        Doc# 14      Page 2 of 3
   1          Neither this Request for Special Notice nor any subsequent appearance, pleading, claim,

   2 proof of claim, documents, suit, motion nor any other writing or conduct, shall constitute a waiver of

   3 the within party's:

   4          a.      Right to have any and all final orders in any and all non-core matters entered only

   5 after de novo review by a United States District Court Judge;

   6          b.      Right to receive service pursuant to Fed. R. Civ. P. 4 made applicable to the instant

   7 proceeding by Fed. R. Bankr. P. 7004, notwithstanding Aldridge Pite, LLP’s participation in the

   8 instant proceeding. This Request for Special Notice shall not operate as a confession and/or

   9 concession of jurisdiction. Moreover, the within party does not authorize Aldridge Pite, LLP, either

  10 expressly or impliedly through Aldridge Pite, LLP’s participation in the instant proceeding, to act as

  11 its agent for purposes of service under Fed. R. Bankr. P. 7004;

  12          c.      Right to trial by jury in any proceeding as to any and all matters so triable herein,

  13 whether or not the same be designated legal or private rights, or in any case, controversy or

  14 proceeding related hereto, notwithstanding the designation or not of such matters as "core

  15 proceedings" pursuant to 28 U.S.C. § 157(b)(2)(H), and whether such jury trial right is pursuant to

  16 statute or the United States Constitution;

  17          d.      Right to have the reference of this matter withdrawn by the United States District

  18 Court in any matter or proceeding subject to mandatory or discretionary withdrawal; and

  19          e.      Other rights, claims, actions, defenses, setoffs, recoupments or other matters to which
  20 this party is entitled under any agreements at law or in equity or under the United States Constitution.

  21                                                  ALDRIDGE PITE, LLP
  22

  23 Dated: April 25, 2018                            /s/ Josephine E. Piranio (SBN 0701001)
                                                      Attorneys for HomeStreet Bank
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   1                                   CERTIFICATE OF SERVICE

   2          I hereby certify that a copy of the foregoing REQUEST FOR SPECIAL NOTICE was

   3 served on April 26, 2018. Service was accomplished by the method and to the following as indicated:

   4                       BY ELECTRONIC NOTICE OR FIRST CLASS MAIL

   5                                               DEBTOR
   6                                            Leslie E Bowers
                                             2350 Ridgemont Drive
   7                                         Anchorage, AK 99507
   8
                                          DEBTOR’S ATTORNEY
   9                                       (via electronic notice)
  10                                            Swan T. Ching
                                              1563 E. Tudor Road
  11                                         Anchorage, AK 99507
  12

  13                                               TRUSTEE
                                             (via electronic notice)
  14
                                             Nacole M. Jipping(7)
  15                                      PO Box 110502 Anchorage,
                                              AK 99511 Jipping
  16                                          ECF@gmail.com
  17

  18          I declare under penalty of perjury that the foregoing is true and correct.

  19
       Dated: April 26, 2018                                    /s/ Troy-John Brown
  20                                                            TROY-JOHN BROWN
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